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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


SUSAN TSUI GRUNDMANN,
c/o State Democracy Defenders Fund
600 Pennsylvania Avenue SE #15180
Washington, DC 20003


              Plaintiff,

       vs.                                                   COMPLAINT

DONALD J. TRUMP, in his official capacity as                 Case No. 25-425
President,
1600 Pennsylvania Avenue, NW
Washington, D.C. 20500,

              and

COLLEEN DUFFY KIKO, in her official capacity
as chairman of the Federal Labor Relations Authority,
1400 K Street NW,
Washington, DC 20424


              Defendants.
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                                          COMPLAINT


       Plaintiff Susan Tsui Grundmann (“Plaintiff”) challenges President Trump’s decision to

affect her unprecedented and illegal removal from her position as a duly appointed and Senate

confirmed Member of the Federal Labor Relations Authority (“FLRA” or “Authority”). In 1978,

Congress enacted the Federal Service Labor-Management Relations Statute (the “Statute”), 5

U.S.C. Ch. 71, as part of the comprehensive Civil Service Reform Act, Pub..L. 95-454, 92 Stat.

1111 (Oct. 13, 1978). In enacting the Statute, Congress established the FLRA as a nonpartisan,

independent agency with the mission of administering labor-management relations for non-postal

federal employees. The FLRA is composed of three Members who are presidentially appointed

with the advice and consent of the Senate. To ensure the FLRA’s independence, Congress

authorized a Member’s removal by the President “only upon notice and hearing and only for

inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C. § 7104(b). Absent notice, hearing

and showing at a hearing, the terms of members shall not expire before the earlier of the date on

which the member’s successor takes office, or the last day of Congress beginning after the date on

which the member’s term of office would expire. 5 U.S.C. § 7104(c). The President’s removal of

Plaintiff for no cause, much less any reasons relating to inefficiency, neglect of duty, or

malfeasance, without notice and a hearing, and during an unexpired term, was in flagrant violation

of the plain language of the statute.

                                 JURISDICTION AND VENUE

       1.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because this action arises under federal law.




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          2.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because Defendants

are the President, the Federal Labor Relations Authority, and its Chair and all are located in the

District of Columbia.

                                              PARTIES

          3.   Plaintiff Susan Tsui Grundmann is a Member of the FLRA, appointed by President

Biden and confirmed by the U.S. Senate on May 12, 2022, to a five-year term expiring on July 1,

2025. Even after her term, her tenure would not expire before the earlier of the day on which her

successor takes office or the last day of Congress beginning after the date on which her term of

office would expire (January 2029, in her case). She was Chair of the FLRA before Defendant

Trump improperly removed her.

          4.   Defendant Donald J. Trump is sued in his official capacity as President of the United

States.

          5.   Defendant Colleen Duffy Kiko is a member of the Federal Labor Relations

Authority who was named Chairman of the FLRA on February 11, 2025, after President Trump

improperly removed Plaintiff Grundmann.

                                    FACTUAL ALLEGATIONS

          6.   Congress created the FLRA to function as an independent agency, consistent with the

Supreme Court’s decision in Humphrey’s Executor v. United States, 295 U.S. 602 (1935), which

held that members of multi-member, bipartisan agencies, who perform significant quasi-legislative

and/or quasi-judicial duties, cannot be removed without cause. The FLRA has all the typical indicia

of such agencies, as well as additional indicia of an independent agency. This demonstrates clear

Congressional intent to prohibit presidents from removing FLRA members without cause.




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       7.    In creating the FLRA, Congress explicitly found that “the statutory protection of the

right of [federal] employees to organize, bargain collectively, and participate through labor

organizations of their own choosing in decisions which affect them… safeguards the public

interest, contributes to the effective conduct of public business, and facilitates and encourages the

amicable settlements of disputes between employees and their employers involving conditions of

employment[.]” 5 U.S.C. § 7101(a)(1)(A)-(C).

       8.   The FLRA’s primary statutory duties include resolving unfair labor practice

complaints, determining the appropriateness of units for labor organization representation,

adjudicating exceptions to arbitrators’ awards, adjudicating legal issues relating to the duty to

bargain, and resolving impasses during collective bargaining. 5 U.S.C. § 7105(a)(2). Thus, the

FLRA’s functions are largely quasi-judicial.

       9.   Congress created the FLRA as a multimember, bipartisan agency: “The Federal Labor

Relations Authority is composed of three members, not more than 2 of whom may be adherents of

the same political party.” 5 U.S.C. § 7104(a).

       10. Congress further provided that members (1) are appointed by the President with the

advice and consent of the Senate and (2) they can only be removed after notice and a hearing and

only for cause. “Members of the Authority shall be appointed by the President by and with the

advice and consent of the Senate and may be removed by the President only upon notice and

hearing and only for inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C. § 7104(b).

       11. Members serve five-year terms: “A member of the Authority shall be appointed for a

term of 5 years.” 5 U.S.C. § 7104(c). When Congress initially enacted the FLRA, it staggered the

terms so that no more than two years would elapse before a member’s term expired. Pub. L. 95–

454, title VII, § 7104 (1978), 92 Stat. 1196.



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       12. Congress has also included a provision where a member’s term “shall not expire until

the earlier of (1) the date on which the member’s successor takes office, or (2) the last day of the

Congress beginning after the date on which the member’s term of office would (but for this

paragraph) expire.” 5 U.S.C. 7104(c).

       13. The Statute’s legislative history likewise reflects congressional intent to establish “an

independent Federal labor relations authority” in order to obtain “the resolution of disputes by the

intervention of neutral, independent, third parties…” 124 Cong. Rec. 126 (1978), reprinted in

Legislative History of the Civil Service Reform Act of 1978 at 811 (1979). As Representative

William D. Ford, one of the bill’s supporters, stated:

       One of the central elements of a fair labor relations program is effective, impartial
       administration. Title VII provides for the creation of an independent and neutral
       Federal labor relations authority to administer the Federal labor management
       program…[.] Currently the Federal labor-management program is administered by
       the Federal Labor Relations Council which is composed of three administration
       officials… none of whom can be considered neutral.

Id at 815.

       14. The Statute’s legislative history further shows Congress’s understanding that limiting

the removal of an FLRA Member except for cause was the essential guardrail for ensuring the

FLRA’s impartiality and independence:

       The Federal labor relations authority, patterned after the NLRB, would insure that
       the administration of this program is free from bias toward either party. Impartiality
       is guaranteed by protecting authority members from unwarranted “Saturday night”
       removals.

Id.

       15. The Statute provides that the President designates one member as Chairman of the

Authority and the Chairman serves as the Authority’s chief executive and administrator: “The




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President shall designate one member to serve as Chairman of the Authority. The Chairman is the

chief executive and administrative officer of the Authority.” 5 U.S.C. § 7104(b).

       16. On February 10, 2025, at 10:46 pm, Plaintiff received an email from Defendant Trent

Morse, Deputy Director of the White House Office of Presidential Personnel, which stated in its

entirety: “On behalf of President Donald J. Trump, I am writing to inform you that your position

on the Federal Labor Relations Authority is terminated, effective immediately.” A true and correct

copy of the email is attached hereto as Exhibit A.

       17. The one-sentence email does not allege any inefficiency, neglect of duty, or

malfeasance in office by Plaintiff, as required by statute. Moreover, Plaintiff was terminated

without notice and hearing as required by statute. See Ex. A.

       18. Since receiving her termination email, Plaintiff has not been able to perform her duties

as Chairman or as a member of the Authority.

       19. On February 11, 2025, Defendant Trump named Defendant Kiko as Chairman of the

Authority.

       20. Plaintiff Grundmann has suffered irreparable harm, including because she has been

deprived of her ability to perform her statutory functions and fulfill her statutory obligations, as

set forth by Congress, to federal employees who avail themselves of the FLRA. This includes

situations where on a particular matter the remaining members are deadlocked 1-1 and Plaintiff

Grundmann’s vote would be decisive.

       21. Plaintiff’s termination is one of numerous terminations by Defendant Trump of

Presidentially appointed and Senate approved members of independent agencies or other

independent government officials.




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                                   CLAIM FOR RELIEF
 (Violation of the Federal Service Labor-Management Relations Statute, 5 U.S.C. § 7104)

        22. Plaintiff repeats and incorporates by reference each of the foregoing allegations as if

fully set forth herein.

        23. Under the plain language of the Federal Service Labor-Management Relations Statute,

Ms. Grundmann has a clear legal entitlement to retain her position as a member of the Federal

Labor Relations Authority: “Members of the Authority shall be appointed by the President by and

with the advice and consent of the Senate, and may be removed by the President only upon notice

and hearing and only for inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C. §

7104(b).

        24. President Trump’s removal of Ms. Grundmann as a member of the Authority without

purporting to identify any neglect of duty or malfeasance, and without providing notice or a

hearing, is unlawful under section 5 U.S.C. § 7104(b), and is a clear attempt to contravene

Congress’s statutory scheme.

        25. Ms. Grundmann does not seek an injunction against President Trump but asks for and

is entitled to one against Chairman Kiko. Despite Ms. Grundmann’s legal right to continue in the

position of member of the Board, Defendant Kiko has acceded to her removal and replaced her as

Chairman. As Chairman, Defendant Kiko “is the chief executive and administrative officer of the

Authority.” 5 U.S.C. § 7104(b). Ms. Grundmann has been and continues to be irreparably harmed

by Defendant Kiko’s actions and is without an adequate remedy at law.

                                      PRAYER FOR RELIEF

        Plaintiff requests that this Court:

           1.        Declare that Ms. Grundmann was unlawfully removed as a member of the

Federal Service Labor-Management Relations Statute, 5 U.S.C. § 7104;


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        2.       Enter an injunction against Defendant Kiko, ordering her to reinstate Ms.

Grundmann as a member of the Board and to refrain from taking any further action to obstruct

Ms. Grundmann’s ability to carry out her duties; and

        3.       Award all other appropriate relief.

Dated: February 13, 2025                     Respectfully submitted,


                                             /s/__Jon M. Greenbaum______________________
                                             Norman L. Eisen, D.C. Bar #435051
                                             Tianna J. Mays, D.C. Bar #90005882 (pro hac
                                             forthcoming)
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